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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)                          Order Filed on February 23, 2022
                                                                              by Clerk
                                                                              U.S. Bankruptcy Court
                                                                              District of New Jersey




                                                                  Case No.:            21-30589-MBK
                                                                                    ___________________
     In Re:
     LTL Management LLC                                           Adv. No.:         ___________________

                                                                  Chapter:                   11
                                                                                    ___________________

                                                                  Judge:            Michael B. Kaplan
                                                                                   ___________________



                                             ORDER FOR ADMISSION PRO HAC VICE


              The relief set forth on the following page is ORDERED.




DATED: February 23, 2022




                                                         1
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         This matter having been brought before the Court on application for an Order For Admission
 Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state
 attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1 and D.N.J.
 LBR 9010-1, and good cause having been shown; it is

                                    Ashley Rona Chase
         ORDERED that ____________________________________________ be permitted to appear
 pro hac vice; provided that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record
 shall be filed promptly by a member of the bar of this Court upon whom all notices, orders and
 pleadings may be served, and who shall promptly notify the out-of-state attorney of their
 receipt. Only an attorney at law of this Court may file papers, enter appearances for parties, sign
 stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

         ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
 Protection for payment of the annual fee, for this year and for any year in which the out-of-state attorney
 continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the
 entry of this Order, and it is further

         ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
 admission to the District Court for the District of New Jersey shall also be payable within twenty (20)
 days of entry of this Order. Payment in the form of a check must be payable to "Clerk, USDC" and
 forwarded to the Clerk of the United States District Court for the District of New
 Jersey at the following address:

                                          United States District Court
                                             District of New Jersey
                                    Martin Luther King, Jr. Federal Building
                                               50 Walnut Street
                                              Newark, N.J. 07102
                                     Attention: Pro Hac Vice Admissions

         and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
 States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for
 the District of New Jersey; and it is further

         ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
 Lawyers' Fund for Client Protection within 5 days of its date of entry.


                                                                                                       rev. 8/1/15



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